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10
11                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
13
      CRISTA RAMOS, et al.,
14                                           Case No. 3:18-cv-01554-EMC-SK
                   Plaintiffs,
15
16    v.                                     DEFENDANTS’ NOTICE OF APPEAL
                                             OF PRELIMINARY INJUNCTION
17
18    KIRSTJEN NIELSEN, et al.,

19                 Defendants.
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28         DEFS.’ NOTICE OF APPEAL OF PRELIMINARY INJUNCTION – No. 3:18-cv-1554
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 1          PLEASE TAKE NOTICE that Defendants Kirstjen Nielsen, Secretary of Homeland
 2   Security; Claire M. Grady, Acting Deputy Secretary of Homeland Security (collectively, the
 3   “Secretaries”),1 and the United States of America hereby appeal to the United States Court of
 4   Appeals for the Ninth Circuit from this Court’s Order Granting Plaintiffs’ Motion for Preliminary
 5   Injunction, (ECF No. 128), and all other applicable orders incorporated therein.
 6
 7   Dated: October 11, 2018                      Respectfully submitted,

 8                                                JOSEPH H. HUNT
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                                                  /s/ Rhett P. Martin
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26   1
       Elaine Duke was originally named in her official capacity as Deputy Secretary. She has since
     retired, and Claire M. Grady has been substituted under Rule 25(d) of the Federal Rules of Civil
27   Procedure.
28       DEFS.’ NOTICE OF APPEAL OF PRELIMINARY INJUNCTION – No. 3:18-cv-1554
